                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER


DERWOOD STEWART,                                )
                                                )
                      Plaintiff,                )
                                                )           4:10-CV-31
v.                                              )           Lee
                                                )
FEDERAL CROP INSURANCE                          )
CORPORATION, et al.,                            )
                                                )
                      Defendants.               )

                                           ORDER

       On September 13, 2011 it was reported that this case was settled. Unless a stipulation of

dismissal is submitted prior to December 13, 2011, it is ORDERED that all counsel shall appear

in person before the undersigned United States Magistrate Judge on December 13, 2011 at 10:00

a.m., for a conference with regard to the status of the settlement. In the event a stipulation of

dismissal is submitted prior to December 13, 2011, the status conference will be cancelled.



               SO ORDERED.

               ENTER:

                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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